            20-01188-jlg     Doc 2     Filed 06/23/20 Entered 06/23/20 16:18:28                Notice of
                                       Pre-Trial Conference Pg 1 of 1
                              UNITED STATES BANKRUPTCY COURT
                                   Southern District of New York
In re: Orly Genger                                                               Bankruptcy Case No.: 19−13895−jlg

Dalia Genger trustee of the Orly Genger 1993 Trust
Orly Genger 1993 Trust
                                                     Plaintiff(s),
                                                                                           Adversary Proceeding No.
−against−                                                                                             20−01188−jlg
Orly Genger
Arie Genger
Glenclova Investment Company
TR Investors, LLC
New TR Equtiy I, LLC
New TR Equity II, LLC
Trans−Resources, Inc.
Arnold Broser
David Broser
Jane Doe1−20
John Doe1−20
Deborah PiazzaSuccessor Chapter 7 Trustee of the bankruptcy estate of Orly
Genger
                                                  Defendant(s)

            NOTICE OF PRE−TRIAL CONFERENCE FOR A REMOVED MATTER


On June 20, 2020, state court litigation that had been removed to the federal District Court was opened as an
adversary proceeding on the Bankruptcy Court's CM/ECF System. The name and number of this adversary
proceeding appear in the caption above, along with the name and number of the bankruptcy case to which the
adversary proceeding relates.


Please note that the pre−trial conference for this adversary proceeding will be held on 8/12/20 at 10:00 AM in
Courtroom Courtroom 601 (JLG), One Bowling Green, New York, NY 10004−1408.



Dated: June 23, 2020                                       /s/ Vito Genna

                                                           Clerk of the Court
